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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                    March 28, 2022
                         UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


DAVID ALLEN HAVERKAMP,                          §
                                                §
         Plaintiff,                             §
                                                §
VS.                                             § CIVIL ACTION NO. 2:17-CV-00018
                                                §
JOHN & JANE DOE, et al.,                        §
                                                §
         Defendants.                            §

                    ORDER UPDATING DOCKET AND
             SUPPLEMENTAL ORDER FOR SERVICE OF PROCESS

       Plaintiff, an inmate proceeding in forma pauperis, has filed this prisoner civil rights

action pursuant to 42 U.S.C. § 1983. In his Second Amended Complaint filed through

counsel, Plaintiff names the following Defendants: (1) Dr. Jeffrey Beeson, Dr. John

Burruss, Dr. Robert Greenberg, Preston Johnson, Jr., Dr. Cynthia Jumper, Dr. Philip

Keiser, Erin Wyrick, Joe Perez, Dr. Lannette Linthicum, and Dr. Owen Murray. Only Erin

Wyrick and Joe Perez have yet to be served a summons and complaint in this case.

       The docket report reflects that Dr. Linthicum and Dr. Murray were previously

terminated from this action. The Clerk of the Court is DIRECTED to update the docket

to reflect that Dr. Lannette Linthicum and Dr. Owen Murray, who were named as

defendants in the Second Amended Complaint, are active defendants in this case.

       Furthermore,    the   Court’s    prior    orders   for   Service   of   Process       are

SUPPLEMENTED as follows:
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1.      The Clerk of the Court shall send by electronic means a copy of Plaintiff’s Second

Amended Complaint (D.E. 294) to Attorney General of the State of Texas, Attention:

Law Enforcement Defense Division, P.O. Box 12548, Austin, Texas 78711-2548. It is

further ordered that the Office of the Attorney General of the State of Texas, pursuant to

its policy, will either obtain authority to represent the following Defendants on or before

April 29, 2022, or file within the same time period with this Court, the address of the

Defendant under seal, executed by an authorized agent of the Texas Department of

Criminal Justice, Criminal Institutions Division (TDCJ-CID): (1) Erin Wyrick; and (2)

Joe Perez. The affidavit may be filed ex parte and sealed subject to a motion to unseal for

good cause by Plaintiff.

2.      Erin Wyrick and Joe Perez shall file an answer or other responsive pleading on or

before April 29, 2022.1




        ORDERED on March 28, 2022.



                                                          ____________________________
                                                          Julie K. Hampton
                                                          United States Magistrate Judge




1
  In a separate order, the undersigned directed all named defendants in the Second Amended Complaint to file
responsive pleadings by April 29, 2022. (D.E. 292).
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